          Case 2:20-cr-00231-PBT Document 23 Filed 08/31/20 Page 1 of 3




                      1IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATED OF AMERICA                              :
                                                      :
                                                      :       CRIMINAL ACTION
               v.                                     :
                                                      :       NO. 20-231
JOSEPH LAFORTE

                                              ORDER

        AND NOW, this __28th__ day of August, 2020, upon consideration of the Government’s

unopposed Motion for a Protective Order (ECF No. 14), IT IS HEREBY ORDERED AND

DECREED that the Government’s Motion is GRANTED.

        IT IS FURTHER ORDERED as follows:

   1.   Defendant Joseph LaForte, who is presently incarcerated at the Philadelphia Federal

        Detention Center (“FDC”), shall be permitted to review any subsequent discovery, Jencks

        Act, Fed. R. Civ. P. 26.2, Brady/Giglio material and any other disclosed materials in this

        case outside of the presence of his counsel.

   2. The Government shall provide the FDC with a computer compact disc containing

        discovery, Jencks Act, Fed. R. Civ. P. 26.2, Brady/Giglio material, and any other

        disclosed materials in this case. The Defendant shall be permitted to view the contents of

        the computer compact disc on a FDC computer provided that the FDC computer does not

        have access to a printer, a copier, the internet, email, or any other means of

        dissemination. The Defendant is prohibited from printing, emailing, or otherwise

        disseminating the material from the computer compact disc or otherwise sharing or

        displaying the material with third parties.




                                                  1
      Case 2:20-cr-00231-PBT Document 23 Filed 08/31/20 Page 2 of 3




3. Additionally, the FDC shall permit and/or limit the Defendant to reviewing the discovery

   material contained on the computer compact disc in any manner necessary to comply

   with established FDC guidelines, procedures, and protocols necessary for the proper

   maintenance, safety, and order of the FDC. The FDC shall, at all times, maintain custody

   and control over the computer compact disc and shall not permit the Defendant to retain

   the materials within his respective housing area. This Order does not prohibit counsel

   from showing these materials to the Defendant and discussing these materials at meetings

   with the Defendant or from reading or discussing these materials in telephone

   conversations with the Defendant.

4. This Order also does not prohibit counsel from showing these materials to, providing

   copies of these materials to, or discussing the contents of the materials with experts or

   investigators who are a part of the Defendant’s defense team in this case. However, any

   expert, investigator, or member of the defense team that is provided access to these

   materials is bound by the prohibitions of this Order in the same manner as defense

   counsel and is prohibited from any further copying or dissemination of the materials to a

   third party unless granted permission to do so by subsequent Order of this Court.




                                             2
      Case 2:20-cr-00231-PBT Document 23 Filed 08/31/20 Page 3 of 3




5. Defendant’s counsel and defense team are prohibited from providing a physical or

   electronic copy of any disclosed materials to third parties, or to counsel for third parties,

   or providing their substance to third parties in writing or summary. Defendant’s counsel

   and defense team are prohibited from providing physical copies of discovery to the

   Defendant.




                                                  BY THE COURT:

                                                  /s/ Petrese B. Tucker

                                                  ____________________________
                                                  Hon. Petrese B. Tucker, U.S.D.J.




                                             3
